                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )       NO. 3:12-00044
                                                  )       JUDGE CAMPBELL
L. BRIAN WHITFIELD, et al.                        )

                                           ORDER

         The status conference scheduled for March 11, 2013, at 10:00 a.m. is RESCHEDULED for

March 11, 2013, at 4:30 p.m.

         It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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